      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 1 of 15




 1   Laurence M. Rosen (SBN 219683)
     THE ROSEN LAW FIRM, P.A.
 2
     355 South Grand Avenue, Suite 2450
 3   Los Angeles, CA 90071
 4   Telephone: (213) 785-2610
     Facsimile: (213) 226-4684
 5   Email: lrosen@rosenlegal.com
 6
     Counsel for Plaintiff
 7
 8                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10
11    VICTOR BUQUERAS, Individually           No.
      and on behalf of all others similarly
12    situated,                               CLASS ACTION COMPLAINT
13                                            FOR VIOLATIONS OF THE
                    Plaintiff,                FEDERAL SECURITIES LAWS
14
15                  v.                        CLASS ACTION
16
      SHARECARE, INC., JEFFREY T.             JURY TRIAL DEMANDED
17    ARNOLD, and JUSTIN FERRERO,
18
                   Defendants.
19
20
21
22
23
24
25
26
27
28
29                   CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                          THE FEDERAL SECURITIES LAWS
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 2 of 15




 1         Plaintiff Victor Buqueras, (“Plaintiff”), individually and on behalf of all
 2   other persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s
 3   complaint against Defendants (defined below), alleges the following based upon
 4   personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and
 5   belief as to all other matters, based upon, among other things, the investigation
 6   conducted by and through Plaintiff’s attorneys, which included, among other
 7   things, a review of the Defendants’ public documents, public filings, wire and press
 8   releases published by and regarding Sharecare, Inc. (“Sharecare” or the
 9   “Company”), and information readily obtainable on the Internet. Plaintiff believes
10   that substantial evidentiary support will exist for the allegations set forth herein
11   after a reasonable opportunity for discovery.
12                              NATURE OF THE ACTION
13
           1.     This is a class action on behalf of persons or entities who purchased
14
     or otherwise acquired publicly traded Sharecare securities between May 10, 2023
15
     and March 28, 2024, inclusive (the “Class Period”). Plaintiff seeks to recover
16
     compensable damages caused by Defendants’ violations of the federal securities
17
     laws under the Securities Exchange Act of 1934 (the “Exchange Act”).
18
19                             JURISDICTION AND VENUE
20         2.     The claims asserted herein arise under and pursuant to Sections 10(b)
21   and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5
22   promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).
23         3.     This Court has jurisdiction over the subject matter of this action
24   pursuant to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C.
25   §78aa).
26         4.     Venue is proper in this judicial district pursuant to 28 U.S.C. §
27   1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged
28
29                                              1
                      CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                           THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 3 of 15




 1   misstatements entered and the subsequent damages took place in this judicial
 2   district.
 3          5.    In connection with the acts, conduct and other wrongs alleged in this
 4   complaint, Defendants (defined below), directly or indirectly, used the means and
 5   instrumentalities of interstate commerce, including but not limited to, the United
 6   States mails, interstate telephone communications and the facilities of the national
 7   securities exchange.
 8                                        PARTIES

 9          6.    Plaintiff, as set forth in the accompanying certification, incorporated
10   by reference herein, purchased Sharecare securities during the Class Period and
11   was economically damaged thereby.
12          7.     Defendant Sharecare describes itself as follows:
13          “Sharecare, Inc. (“Sharecare” or the “Company”) was founded in 2009 to
            develop an interactive health and wellness platform and began operations in
14          October 2010. Sharecare’s virtual health platform is designed to help people,
15          patients, providers, employers, health plans, government organizations, and
            communities optimize individual and population-wide well-being by
16          driving positive behavior change. The platform is designed to connect each
17          stakeholder to the health management tools they need to drive engagement,
            establish sustained participation, increase satisfaction, reduce costs, and
18
            improve outcomes. [. . .]”
19          8.    Sharecare is incorporated in Delaware and its head office is located at
20   255 East Paces Ferry Road NE, Suite 700, Atlanta, Georgia 30305. Sharecare’s
21   common stock trades on the NASDAQ             exchange under the ticker symbol
22   “SHCR”. Sharecare warrants trade on the NASDAQ under the ticker symbol
23   “SHCRW.”
24          9.    Defendant Jeffrey T. Arnold (“Arnold”) served as the Company’s
25   Chief Executive Officer (“CEO”) throughout the Class Period.
26          10.   Defendant Justin Ferrero (“Ferrero”) served as the Company’s Chief
27   Financial Officer (“CFO”) and President throughout the Class Period.
28
29                                            2
                     CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                          THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 4 of 15




 1         11.   Defendants Arnold and Ferrero are collectively referred to herein as
 2   the “Individual Defendants.”
 3         12.   Each of the Individual Defendants:
 4         (a)   directly participated in the management of the Company;
 5         (b)   was directly involved in the day-to-day operations of the Company at
 6         the highest levels;
 7         (c)   was privy to confidential proprietary information concerning the
 8         Company and its business and operations;
 9         (d)   was directly or indirectly involved in drafting, producing, reviewing
10         and/or disseminating the false and misleading statements and information
11         alleged herein;
12         (e)   was directly or indirectly involved in the oversight or implementation
13         of the Company’s internal controls;
14         (f)   was aware of or recklessly disregarded the fact that the false and
15         misleading statements were being issued concerning the Company; and/or
16         (g)   approved or ratified these statements in violation of the federal
17         securities laws.
18         13.   The Company is liable for the acts of the Individual Defendants and
19   its employees under the doctrine of respondeat superior and common law
20   principles of agency because all of the wrongful acts complained of herein were
21   carried out within the scope of their employment.
22         14.   The scienter of the Individual Defendants and other employees and
23   agents of the Company is similarly imputed to Sharecare under respondeat
24   superior and agency principles.
25         15.   Defendant Sharecare and the Individual Defendants are collectively
26   referred to herein as “Defendants.”
27
28                            SUBSTANTIVE ALLEGATIONS

29                                           3
                     CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                          THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 5 of 15




 1    Materially False and Misleading Statements Issued During the Class Period

 2         16.    On May 10, 2023, Sharecare filed with the SEC its quarterly report
 3   on Form 10-Q for the period ended March 31, 2023 (the “1Q23 Report”). Attached
 4   to the 1Q23 Report were certifications pursuant to SOX signed by Defendants
 5   Arnold and Ferrero attesting to the accuracy of financial reporting, the disclosure
 6   of any material changes to the Company’s internal control over financial reporting
 7   and the disclosure of all fraud.
 8         17.    The 1Q23 Report contained the following statement regarding the
 9   Company’s evaluation of its disclosure controls and procedures:
10       As required by Rules 13a-15 and 15d-15 under the Exchange Act, our Chief
         Executive Officer and Chief Financial Officer carried out an evaluation of
11       the effectiveness of the design and operation of our disclosure controls and
12       procedures as of March 31, 2023. Based upon their evaluation, our Chief
         Executive Officer and Chief Financial Officer concluded that our
13
         disclosure controls and procedures (as defined in Rules 13a-15(e) and
14       15d-15(e) under the Exchange Act) were effective as of March 31, 2023.
15       Management believes that the financial statements included in this Quarterly
         Report on Form 10-Q present fairly in all material respects our financial
16       position, results of operations and cash flows for the periods presented.
17
           (Emphasis added).
18
           18.    The statement in ¶ 17 was materially false and misleading at the time
19
     it was made because the Company had an existing weakness in its internal controls,
20
     which was related to revenue recognition.
21
           19.    On August 9, 2023, Sharecare filed with the SEC its quarterly report
22
     on Form 10-Q for the period ended June 30, 2023 (the “2Q23 Report”). Attached
23
     to the 2Q23 Report were certifications pursuant to SOX signed by Defendants
24
     Arnold and Ferrero attesting to the accuracy of financial reporting, the disclosure
25
     of any material changes to the Company’s internal control over financial reporting
26
     and the disclosure of all fraud.
27
28
29                                            4
                     CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                          THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 6 of 15




 1         20.    The 2Q23 Report contained the following statement regarding the
 2   Company’s evaluation of its disclosure controls and procedures:
 3       As required by Rules 13a-15 and 15d-15 under the Exchange Act, our Chief
         Executive Officer and Chief Financial Officer carried out an evaluation of
 4       the effectiveness of the design and operation of our disclosure controls and
 5       procedures as of June 30, 2023. Based upon their evaluation, our Chief
         Executive Officer and Chief Financial Officer concluded that our
 6       disclosure controls and procedures (as defined in Rules 13a-15(e) and
 7       15d-15(e) under the Exchange Act) were effective as of June 30, 2023.
         Management believes that the financial statements included in this Quarterly
 8       Report on Form 10-Q present fairly in all material respects our financial
 9       position, results of operations and cash flows for the periods presented.
10
           (Emphasis added)
11
12         21.    The statement in ¶ 20 was materially false and misleading at the time

13   it was made because the Company had an existing weakness in its internal controls,

14   which was related to revenue recognition.

15         22.    On November 9, 2023, Sharecare filed with the SEC its quarterly

16   report on Form 10-Q for the period ended September 30, 2023 (the “3Q23

17   Report”). Attached to the 3Q23 Report were certifications pursuant to SOX signed

18   by Defendants Arnold and Ferrero attesting to the accuracy of financial reporting,

19   the disclosure of any material changes to the Company’s internal control over

20   financial reporting and the disclosure of all fraud.

21         23.    The 3Q23 Report contained the following statement regarding the

22   Company’s evaluation of its disclosure controls and procedures:

23         As required by Rules 13a-15 and 15d-15 under the Exchange Act, our Chief
24         Executive Officer and Chief Financial Officer carried out an evaluation of
           the effectiveness of the design and operation of our disclosure controls and
25         procedures as of September 30, 2023. Based upon their evaluation, our
26         Chief Executive Officer and Chief Financial Officer concluded that our
           disclosure controls and procedures (as defined in Rules 13a-15(e) and
27
           15d-15(e) under the Exchange Act) were effective as of September 30,
28
29                                             5
                     CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                          THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 7 of 15




 1         2023. Management believes that the financial statements included in this
           Quarterly Report on Form 10-Q present fairly in all material respects our
 2         financial position, results of operations and cash flows for the periods
 3         presented.
 4         (Emphasis added).

 5         24.    The statement in ¶ 23 was materially false and misleading at the time

 6   it was made because the Company had an existing weakness in its internal controls,

 7   which was related to revenue recognition.

 8         25.    The statements contained in ¶¶ 17, 20, and 23 were materially false

 9   and/or misleading because they misrepresented and failed to disclose the following

10   adverse facts pertaining to the Company’s business, operations and prospects,

11   which were known to Defendants or recklessly disregarded by them. Specifically,

12   Defendants made false and/or misleading statements and/or failed to disclose that:

13   (1) Sharecare lacked adequate internal controls and; (2) as a result, Defendants’

14   statements about its business, operations, and prospects, were materially false and

15   misleading and/or lacked a reasonable basis at all times.

16                                 THE TRUTH EMERGES

17         26.    On March 29, 2024 (during which the market was closed due to Good

18   Friday), the Company filed with the SEC its Annual Report on Form 10-K for the

19   year ended December 31, 2023 (the “2023 Annual Report”). The 2023 Annual

20   Report contained the following disclosure:
          As required by Rules 13a-15 and 15d-15 under the Exchange Act, our Chief
21        Executive Officer and Chief Financial Officer carried out an evaluation of
22        the effectiveness of the design and operation of our disclosure controls and
          procedures as of December 31, 2023. Based upon their evaluation, our
23        Chief Executive Officer and Chief Financial Officer concluded that our
24        disclosure controls and procedures (as defined in Rules 13a-15(e) and
          15d-15(e) under the Exchange Act) were not effective as of December 31,
25
          2023 due to the material weakness in our internal control over financial
26        reporting described below. Management believes that the financial
27        statements included in this Annual Report on Form 10-K present fairly in all

28
29                                            6
                     CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                          THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 8 of 15




 1         material respects our financial position, results of operations and cash flows
           for the periods presented.
 2
 3         (Emphasis added).
 4         27.    The Company then provided the following detail on the material

 5   weakness in internal controls:

 6         In connection with the audit of our financial statements as of and for the
 7         year ended December 31, 2023, we identified a material weakness in our
           internal control over financial reporting. As of December 31, 2023, the
 8         Company did not maintain adequate internal controls with respect to its
 9         revenue recognition evaluation resulting from a change in services
           provided to a customer, due to untimely communication between cross-
10
           functional teams. A material weakness is a deficiency, or a combination of
11         deficiencies, in internal control over financial reporting such that there is a
12         reasonable possibility that a material misstatement of our financial
           statements will not be prevented or detected on a timely basis.
13
           (Emphasis added).
14
15         28.    On this news, the price of Sharecare stock fell by $0.2171, or 28.28%,
16   to close at $0.5504 on April 1, 2024, on unusually heavy trading volume, damaging
17   investors.
18         29.    As a result of Defendants’ wrongful acts and omissions, and the
19   precipitous decline in the market value of the Company’s common shares, Plaintiff
20   and other Class members have suffered significant losses and damages.
21                 PLAINTIFF’S CLASS ACTION ALLEGATIONS
22         30.    Plaintiff brings this action as a class action pursuant to Federal Rule
23   of Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons
24   other than defendants who acquired the Company’s securities publicly traded on
25   NASDAQ during the Class Period, and who were damaged thereby (the “Class”).
26
     Excluded from the Class are Defendants, the officers and directors of the Company,
27
     members of the Individual Defendants’ immediate families and their legal
28
29                                            7
                     CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                          THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 9 of 15




 1   representatives, heirs, successors or assigns and any entity in which Defendants

 2   have or had a controlling interest.

 3         31.    The members of the Class are so numerous that joinder of all members
 4   is impracticable. Throughout the Class Period, the Company’s securities were
 5   actively traded on NASDAQ. While the exact number of Class members is
 6   unknown to Plaintiff at this time and can be ascertained only through appropriate
 7   discovery, Plaintiff believes that there are hundreds, if not thousands of members
 8   in the proposed Class.
 9         32.    Plaintiff’s claims are typical of the claims of the members of the Class
10   as all members of the Class are similarly affected by Defendants’ wrongful conduct
11   in violation of federal law that is complained of herein.
12         33.    Plaintiff will fairly and adequately protect the interests of the
13   members of the Class and has retained counsel competent and experienced in class
14   and securities litigation. Plaintiff has no interests antagonistic to or in conflict with
15   those of the Class.
16         34.    Common questions of law and fact exist as to all members of the Class
17   and predominate over any questions solely affecting individual members of the
18   Class. Among the questions of law and fact common to the Class are:
19         •      whether the Exchange Act was violated by Defendants’ acts as alleged
20         herein;
21         •      whether statements made by Defendants to the investing public during
22         the Class Period misrepresented material facts about the business and
23         financial condition of the Company;
24         •      whether Defendants’ public statements to the investing public during
25         the Class Period omitted material facts necessary to make the statements
26         made, in light of the circumstances under which they were made, not
27         misleading;
28
29                                               8
                      CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                           THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 10 of 15




 1         •      whether the Defendants caused the Company to issue false and
 2         misleading filings during the Class Period;
 3         •      whether Defendants acted knowingly or recklessly in issuing false
 4         filings;
 5         •      whether the prices of the Company securities during the Class Period
 6         were artificially inflated because of the Defendants’ conduct complained of
 7         herein; and
 8         •      whether the members of the Class have sustained damages and, if so,
 9         what is the proper measure of damages.
10         35.    A class action is superior to all other available methods for the fair
11   and efficient adjudication of this controversy since joinder of all members is
12   impracticable. Furthermore, as the damages suffered by individual Class members
13   may be relatively small, the expense and burden of individual litigation make it
14   impossible for members of the Class to individually redress the wrongs done to
15   them. There will be no difficulty in the management of this action as a class action.
16         36.    Plaintiff will rely, in part, upon the presumption of reliance
17   established by the fraud-on-the-market doctrine in that:
18         •      the Company’s shares met the requirements for listing, and were listed
19         and actively traded on NASDAQ, an efficient market;
20         •      as a public issuer, the Company filed periodic public reports;
21         •      the Company regularly communicated with public investors via
22         established market communication mechanisms, including through the
23         regular dissemination of press releases via major newswire services and
24         through other wide-ranging public disclosures, such as communications with
25         the financial press and other similar reporting services;
26         •      the Company’s securities were liquid and traded with moderate to
27         heavy volume during the Class Period; and
28
29                                             9
                      CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                           THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 11 of 15




 1         •       the Company was followed by a number of securities analysts
 2         employed by major brokerage firms who wrote reports that were widely
 3         distributed and publicly available.
 4         37.     Based on the foregoing, the market for the Company’s securities
 5   promptly digested current information regarding the Company from all publicly
 6   available sources and reflected such information in the prices of the shares, and
 7   Plaintiff and the members of the Class are entitled to a presumption of reliance
 8   upon the integrity of the market.
 9         38.     Alternatively, Plaintiff and the members of the Class are entitled to
10   the presumption of reliance established by the Supreme Court in Affiliated Ute
11   Citizens of the State of Utah v. United States, 406 U.S. 128 (1972), as Defendants
12   omitted material information in their Class Period statements in violation of a duty
13   to disclose such information as detailed above.
14                                       COUNT I

15     For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder

16                                  Against All Defendants
17         39.     Plaintiff repeats and realleges each and every allegation contained
18   above as if fully set forth herein.
19         40.     This Count is asserted against Defendants is based upon Section 10(b)
20   of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder
21   by the SEC.
22         41.     During the Class Period, Defendants, individually and in concert,
23   directly or indirectly, disseminated or approved the false statements specified
24   above, which they knew or deliberately disregarded were misleading in that they
25   contained misrepresentations and failed to disclose material facts necessary in
26   order to make the statements made, in light of the circumstances under which they
27   were made, not misleading.
28
29                                            10
                      CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                           THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 12 of 15




 1           42.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that
 2   they:
 3           •     employed devices, schemes and artifices to defraud;
 4           •     made untrue statements of material facts or omitted to state material
 5           facts necessary in order to make the statements made, in light of the
 6           circumstances under which they were made, not misleading; or
 7           •     engaged in acts, practices and a course of business that operated as a
 8           fraud or deceit upon plaintiff and others similarly situated in connection with
 9           their purchases of the Company’s securities during the Class Period.
10           43.   Defendants acted with scienter in that they knew that the public
11   documents and statements issued or disseminated in the name of the Company
12   were materially false and misleading; knew that such statements or documents
13   would be issued or disseminated to the investing public; and knowingly and
14   substantially participated, or acquiesced in the issuance or dissemination of such
15   statements or documents as primary violations of the securities laws. These
16   defendants by virtue of their receipt of information reflecting the true facts of the
17   Company, their control over, and/or receipt and/or modification of the Company’s
18   allegedly materially misleading statements, and/or their associations with the
19   Company which made them privy to confidential proprietary information
20   concerning the Company, participated in the fraudulent scheme alleged herein.
21           44.   Individual Defendants, who are the senior officers of the Company,
22   had actual knowledge of the material omissions and/or the falsity of the material
23   statements set forth above, and intended to deceive Plaintiff and the other members
24   of the Class, or, in the alternative, acted with reckless disregard for the truth when
25   they failed to ascertain and disclose the true facts in the statements made by them
26   or any other of the Company’s personnel to members of the investing public,
27   including Plaintiff and the Class.
28
29                                             11
                      CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                           THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 13 of 15




 1          45.    As a result of the foregoing, the market price of the Company’s
 2   securities was artificially inflated during the Class Period. In ignorance of the
 3   falsity of Defendants’ statements, Plaintiff and the other members of the Class
 4   relied on the statements described above and/or the integrity of the market price of
 5   the Company’s securities during the Class Period in purchasing the Company’s
 6   securities at prices that were artificially inflated as a result of Defendants’ false and
 7   misleading statements.
 8          46.    Had Plaintiff and the other members of the Class been aware that the
 9   market price of the Company’s securities had been artificially and falsely inflated
10   by Defendants’ misleading statements and by the material adverse information
11   which Defendants did not disclose, they would not have purchased the Company’s
12   securities at the artificially inflated prices that they did, or at all.
13          47.    As a result of the wrongful conduct alleged herein, Plaintiff and other
14   members of the Class have suffered damages in an amount to be established at trial.
15          48.    By reason of the foregoing, Defendants have violated Section 10(b)
16   of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the
17   plaintiff and the other members of the Class for substantial damages which they
18   suffered in connection with their purchase of the Company’s securities during the
19   Class Period.
20                                           COUNT II

21                     Violations of Section 20(a) of the Exchange Act

22                            Against the Individual Defendants
23          49.    Plaintiff repeats and realleges each and every allegation contained in
24   the foregoing paragraphs as if fully set forth herein.
25          50.    During the Class Period, the Individual Defendants participated in the
26   operation and management of the Company, and conducted and participated,
27   directly and indirectly, in the conduct of the Company’s business affairs. Because
28
29                                                12
                       CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                            THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 14 of 15




 1   of their senior positions, they knew the adverse non-public information about the
 2   Company’s false financial statements.
 3         51.    As officers of a publicly owned company, the Individual Defendants
 4   had a duty to disseminate accurate and truthful information with respect to the
 5   Company’s’ financial condition and results of operations, and to correct promptly
 6   any public statements issued by the Company which had become materially false
 7   or misleading.
 8         52.    Because of their positions of control and authority as senior officers,
 9   the Individual Defendants were able to, and did, control the contents of the various
10   reports, press releases and public filings which the Company disseminated in the
11   marketplace during the Class Period concerning the Company’s results of
12   operations. Throughout the Class Period, the Individual Defendants exercised their
13   power and authority to cause the Company to engage in the wrongful acts
14   complained of herein. The Individual Defendants therefore, were “controlling
15   persons” of the Company within the meaning of Section 20(a) of the Exchange
16   Act. In this capacity, they participated in the unlawful conduct alleged which
17   artificially inflated the market price of the Company’s securities.
18         53.    By reason of the above conduct, the Individual Defendants are liable
19   pursuant to Section 20(a) of the Exchange Act for the violations committed by the
20   Company.
21                                PRAYER FOR RELIEF

22         WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for
23   judgment and relief as follows:
24         (a)    declaring this action to be a proper class action, designating Plaintiff
25   as Lead Plaintiff and certifying Plaintiff as a class representative under Rule 23 of
26   the Federal Rules of Civil Procedure and designating Plaintiff’s counsel as Lead
27   Counsel;
28
29                                            13
                      CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                           THE FEDERAL SECURITIES LAWS
31
      Case 1:24-cv-02769-LMM Document 1 Filed 04/19/24 Page 15 of 15




 1         (b)    awarding damages in favor of Plaintiff and the other Class members
 2   against all Defendants, jointly and severally, together with interest thereon;
 3         (c)    awarding Plaintiff and the Class reasonable costs and expenses
 4   incurred in this action, including counsel fees and expert fees; and
 5         (d)    awarding Plaintiff and other members of the Class such other and
 6   further relief as the Court may deem just and proper.
 7
 8                              JURY TRIAL DEMANDED

 9         Plaintiff hereby demands a trial by jury.
10
11   Dated:       4/19/2024                  THE ROSEN LAW FIRM, P.A.
12                                           /s/ Laurence M. Rosen
                                             Laurence M. Rosen (SBN 219683)
13                                           355 South Grand Avenue, Suite 2450
14                                           Los Angeles, CA 90071
                                             Telephone: (213) 785-2610
15
                                             Facsimile: (213) 226-4684
16                                           Email: lrosen@rosenlegal.com
17
                                             Counsel for Plaintiff
18
19
20
21
22
23
24
25
26
27
28
29                                            14
                     CLASS ACTION COMPLAINT FOR VIOLATIONS OF
30                          THE FEDERAL SECURITIES LAWS
31
